Case 1:12-cv-20743-PAS Document 52 Entered on FLSD Docket 10/08/2013 Page 1 of 5



                            UNITED STA TES D ISTR ICT C O URT
                           SO U TH ERN D ISTR ICT O F FLO RIDA
                          CASE N O.l2-20743-ClV -SElTZ/S1M ONTON

SETH HARRIS,
ACTING SECRETA RY OF LA BO R ,
UNITED STA TES D EPARTM EN T OF LABOR

       Plaintiff,


LEDFORD FARM S,lNC .,
and TROY LEDFORD,

       D efendants.
                                                /

  ORDER GRANTING PLAINTIFF'S M O TIO N FO R RELIEF FR OM CON SENT JUDGM ENT

       This m atter is before the Courton Plaintiff,the D epartm entofLabor's,M otion forRelief

from ConsentJudgment. (DE-50). Plaintiffand DefendantsTroy Ledfordand Ledford Farms,
Inc.(CsDefendants'')settled an FLSA wageand hourmatterand filed aconsentjudgmentwhich
the Courtentered on M ay 2,2013. gDE-48). Plaintiffnow seeks relief from the consent
judgmentpursuantto FederalRuleofCivilProcedtlre60(b)(1)1on thegroundthatitmistakenly
excluded a materialparagraph entering judgment for back wagessliquidated damages,and
interesttotaling $176,019.31. Having considered Defendants'Opposition (DE-51j and the
record,thefactsandjusticerequirethatthemotionbegranted.
1.     Background

           Defendants em ployed seasonal laborers on their green bean farm in Hom estead,

Florida. The Com plaint alleged that D efendants violated m inim um w age and record keeping

requirementsofthe FairLaborStandardsAct.Plaintiffsoughtinjunctivereliefand,interalia,

       1Additiona11y,Plaintiffasserts ground forreliefbased upon traditionalcontractprinciples. Because
theCourtfindsadequategroundforreliefunderRule60(b)(1),thePlaintiff'salternativetheoryofreliefneed
notbeaddressed.
Case 1:12-cv-20743-PAS Document 52 Entered on FLSD Docket 10/08/2013 Page 2 of 5



 the workers' back wages and liquidated dam ages.z The parties entered into settlem ent

 negotiations which occurred in partover email. Plaintiff'scounselhad teclmicaldiffculties

 saving the variousdraftsofthe settlementagreementand consentjudgmentthatwereemailed
 back and forth betw een counsel. O n April 15,2013,D efendants em ailed Plaintiffs counsel a

 significantlyreviseddraftoftheconsentjudgmentwhich contained amonetaryjudgmentforthe
 fullamountdemanded of $176,019.31. (DE 50-71. The coveremailstated thatDefendants
 tsagreel)n0tto contesttheentry ofmoneyjudgmentagainst(themqin the nmountsclaimed by
the Secretary.'' Id Som etim e thereafter,w hat was then Paragraph 7 concerning dam ages,w as

 inexplicably om itted from the working draft, although none of the parties' em ail exchanges

addressed the omission. Consequently, the parties' proposed order of consentjudgment
submitted totheCourtdid notinclude aprovision requiring Defendantsto pay damages.

       Plaintiff asserts thatthe paragraph was inadvertently om itted,perhaps due to technical

problems with saving the drafts. Plaintiffcontends thatdlzring settlementdiscussions itnever

wavered from itsposition thatthe damageswere notnegotiable becausethey çiwere notowed to

the United States but to the field laborers w ho earned them .'' Pl. M ot.at 2. Nevertheless,

D efendants m aintain thatupon discovering the m issing paragraph iditw as notobvious ...thata

mistake had been made.'' gs'
                           ee Def.Opp.,at 3j. Instead,Defendants'position is thatthe
paragraph containingthemoneyjudgmentwasexcludedbecauseDefensecounselttbelieved''the
Govem m ent had reconsidered the Defendants' circum stances3 and unilaterally dropped the

        2Fisteac Farm Labor, lnc.,a fann laborsupplier,and Joseph Fisteac were also named msDefendants
in the Complaint. Because the Fisteac Defendants failed to answerthe Complaint,the Courtentered default
judgmentagainstthem.(DE-38).
       3During settlementnegotiations, Defendantscontendedthatthey wereunable to pay damagesdueto a
pending banknlptcy petition.

                                                  2
Case 1:12-cv-20743-PAS Document 52 Entered on FLSD Docket 10/08/2013 Page 3 of 5



requirement that Defendants pay $176,019.31 in back wages and dam ages.See id. Though
çtpleased''thatthe provision was rem oved,Defendants did notcallPlaintiffs cotmselaboutit

muchlessattempttoconfirm thebelievedchangeinPlaintiffsposition.4 gDE-50-11j.
        It is undisputed that a paragraph concem ing Defendants'paynaent of back vvages,

liquidated dam ages and interestexisted in draftversions ofthe settlem ent. M oreover,none of

theback and forth emailsdiscussthe removalofsuch aparagraph. On the contrary,Defendant's

cotm sel's cover em ailattaching a draftStipulation A greem entstated that Defendants agreed not

to contest the Secretary's monetary judgment. Additionally,the Consent Judgment Order
specifically referencesthe paymentsto thefarm workersby Plaintiffupon receiptoff'tmdsfrom

Defendantsand thatDefendantswould be responsible forthe employercontribution forF.I.C.A.
taxeson the back wages.5

II.     D iscussion

        Rule 60(b)(1) allows for relief from judgmentforreasons ofçsmistake,inadvertence,
surprise,orexcusableneglect.'' FED.R.CIV.P.60(b)(1);see United Statesv.Gould,301F.2d
353,357(5th Cir.1962)6(liberally construingRule60(b)(1)and settingasideconsentjudgment
based on the governm ent's m istaken understanding thata land ownerw as due otherthan nom inal


        4 By confirm ing the accuracy of their sum rised belief as to Plaintifps sudden change in position,
Defendants' counselcould have saved its clients,opposing Counsel and the Courq considerable time and
expense. Counselhaving the experience levelsofDefense Counselrealize furtherinquiry isappropriate when
a concession ofthismagnitudeismadewithoutcomment.
        5tçplaintiffupon receiptofany moniespursuantto this Judgment, shalldistribute such monies less
deductionsforfederalincom etM esand employee contributionsto F.I.C.A .,asrequired by law,to the named
employees....The Defendantsshallbe responsible forpaying the em ployer'sportion ofthe F.I.C.A.taxes.''
(ConsentJudgment,DE-48,!7q.
        6 Fifth Circuitdecisions issued priorto September 30, 1981 are binding precedenton the Eleventh
Circuit.seeBonnerv.City ofpritchard,661F.2d 1206,1207(11thCir.1981).
                                                    3
Case 1:12-cv-20743-PAS Document 52 Entered on FLSD Docket 10/08/2013 Page 4 of 5




compensation forhislandl. W hile finaljudgmentsshould notbelightly reopened,Rule 60(b)
çsvestspowerin courtsadequate to enablethem to vacatejudgmentswheneversuch action is
appropriatetoaccomplishjustice.''Klapprottv.UnitedStates,335U.S.601,615(1949).
        Therecord amply supportsatinding thatthe paragraph containing the moneyjudgment
wasexcludedbymistake.DraftversionsoftheconsentjudgmentrequiredDefendantstopaythe
farm workersback wages and damages. Had the Departm entofLaborrelented in its demand

that the fal'm w orkers be m ade w hole, such an im portant change of heart w ould have been

corroborated by the record evidence. However, no part of the record, including the em ails

exchanged between the parties during the settlementnegotiations,show thattheremovalofthis
paragraph was even negotiable, m uch less actually negotiated.7 M oreover, inclusion of

Paragraph 7 in thesubmittedfinalconsentjudgmentadditionally suggeststhatPlaintiffmadea
m istake. That paragraph requires that tsupon receipt of any m onies pursuant to this Judgm ent''

Plaintiff would distribute the money to the workers and Defendants would be responsible for

paying the em ployerportion ofF.I.C.A.taxes.A paragraph concenzing the finaldistribution of

themoneyjudgmentisobviouslymeanttobependenttoaprovisionorderingamoneyjudgment.
111.    Conclusion

        The record contains sufticient facts to conclude that Plaintiff m ade a m istake in not

including aparagraph formoneyjudgment. Given thatRule 60(b)(1)isliberally construed to
grantreliefin such cases,itis,
         7TheDepartmentofLabor'sm ishandling ofthis settlementcould have been avoided by the exercise
ofamodicum ofdiligence. Plaintiff'sCounsel'sprofessionalpride,especially when they havethe privilegeto
represent the United States, should dem and more rigorous proof-reading. ln the future, Counsel are
admonished to bemore professionally diligent. M ore troubling,however,isDefendants'Counsel'sresponse.
The mssertion thatitwasnotobvioustoDefendants'Counsel,who wasinvolved in thesettlementnegotiations,
thatthemissing paragraph wasan errorhmsan airofwillfulignorance. W hilethe individualcounselmay be
willing to deplete theirpersonalcredibility bank account,theirconductsullies the reputation oftheir entire
firm .
Case 1:12-cv-20743-PAS Document 52 Entered on FLSD Docket 10/08/2013 Page 5 of 5



       O RDERED that

       (1)    PlaintiffsM otion forRelieffrom ConsentJudgmentOrderisGRANTED.
       (2)    TheConsentJudgment(DE-48)isVACATED.
       (3)    This case is reopened. The Court will Contempol'
                                                             aneously issue an Order
 requiring anew JointScheduling Report.

       DoxE Ax D ORDERED in M iami,Florida,this     Z        dayofoctober2013.
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                                                e        .



                                           PA TRICIA A . EITZ
                                           U N ITED STA TES D ISTRICT JU D GE
 cc:   A l1CotmselofR ecord
